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 5
     Attorney(s) for Plaintiff Scanning Technologies Innovations, LLC
 6

 7
                       IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
      SCANNING TECHNOLOGIES                          CASE NO. 5:21-cv-00004
      INNOVATIONS, LLC,
11
                          Plaintiff,                 COMPLAINT FOR PATENT
12                                                   INFRINGEMENT
      v.
13

14    VBO TICKETS, INC.,                             JURY TRIAL DEMANDED

15                        Defendant.
16

17
             Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations,
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19   LLC (“Plaintiff” or “STI”) files this Original Complaint against VBO Tickets, Inc.
20
     (“Defendant” or “VBO”) for infringement of United States Patent No. 10,600,101
21
     (hereinafter “the ‘101 Patent”).
22

23                             PARTIES AND JURISDICTION
24
             1.    This is an action for patent infringement under Title 35 of the United
25
     States Code. Plaintiff is seeking injunctive relief as well as damages.
26

27           2.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent

 2   infringement arising under the United States patent statutes.
 3
            3.     Plaintiff is a Texas limited liability company having an address of 1801
 4

 5   NE 123 St., Suite 314, Miami, FL 33181.

 6          4.     On information and belief, Defendant is a California corporation having
 7
     a place of business at 1084 Foxworthy Ave., San Jose, CA 95118. On information
 8

 9   and belief, Defendant may be served through its registered agent, David Boehme, at

10   the same address.
11
            5.     On information and belief, this Court has personal jurisdiction over
12

13   Defendant because Defendant has committed, and continues to commit, acts of
14   infringement in this District, has conducted business in this District, and/or has
15
     engaged in continuous and systematic activities in this District.
16

17          6.     On information and belief, Defendant’s instrumentalities that are alleged
18
     herein to infringe were and continue to be used, imported, offered for sale, and/or sold
19
     in this District.
20

21                                          VENUE
22
            7.     Venue is proper in this District 28 U.S.C. §1400(b) because Defendant
23
     is deemed to reside in this District. Alternatively, acts of infringement are occurring
24

25   in this District and Defendant has a regular and established place of business in this
26
     District.
27

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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
                               COUNT I
          (INFRINGEMENT OF UNITED STATES PATENT NO. 10,600,101)
 2

 3         8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

 4         9.     This cause of action arises under the patent laws of the United States
 5
     and, in particular, under 35 U.S.C. §§ 271, et seq.
 6

 7         10.    Plaintiff is the owner by assignment of the ‘101 Patent with sole rights

 8   to enforce the ‘101 Patent and sue infringers.
 9
           11.    A copy of the ‘101 Patent, titled “Systems and Methods for Indicating
10

11   the Existence of Accessible Information Pertaining to Articles of Commerce,” is
12   attached hereto as Exhibit A.
13
           12.    The ‘101 Patent is valid, enforceable, and was duly issued in full
14

15   compliance with Title 35 of the United States Code.
16
           13.    The ‘101 Patent describes systems and methods for downloading a look-
17
     up table from a server database to a mobile device via a communication network.
18

19   ‘101 Patent, Abstract. The look-up table is configured to store a plurality of code
20
     numbers associated with articles of commerce and a plurality of information link
21
     indicators. Id. Each indicator is associated with a respective code and article of
22

23   commerce, and indicates the existence of a link to information about the article of
24
     commerce. Id.
25
           14.    The ‘101 Patent recognizes problems associated with prior systems
26

27   including that the mobile devices of prior systems take time to connect to the Internet
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
     in order to access product information. ‘101 Patent, 1:59-67. Also, prior systems

 2   don’t readily indicate whether there is a link to additional information about the
 3
     product. Id.
 4

 5         15.      Thus, the ‘101 Patent recognized a need to allow a consumer to readily

 6   determine whether product information is available for a product having an associated
 7
     product code. ‘101 Patent, 2: 3:11. A further need existed for a mobile device to
 8

 9   allow a consumer offline access to immediately determine whether the product

10   information was available. Id.
11
           16.      In certain embodiments, the ‘101 Patent includes a mobile device that is
12

13   configured to download a look-up table from a server and store the look-up table in a
14   local database. ‘101 Patent, 2:35-48. In response to receiving scan information
15
     regarding a product code, a processing device on the mobile device is configured to
16

17   look up the code in the look-up table to determine whether or not a link to information
18
     about the associated product is available. Id.
19
           17.      The ‘101 Patent solves problems with the art that are rooted in computer
20

21   technology and that are associated with inventory management and the retrieval of
22
     information associated with articles of commerce. The ‘101 Patent claims do not
23
     merely recite the performance of some business practice known from the pre-Internet
24

25   world along with the requirement to perform it on the Internet.
26
           18.      The improvements of the ‘101 Patent and the features recited in the
27
     claims in the ‘101 Patent provide improvements to conventional hardware and
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 1
     software systems and methods. The improvements render the claimed invention of

 2   the ‘101 Patent non-generic in view of conventional components.
 3
           19.    The improvements of the ‘101 Patent and the features recitations in the
 4

 5   claims of the ’101 Patent are not those that would be well-understood, routine or

 6   conventional to one of ordinary skill in the art at the time of the invention.
 7
           20.    Upon information and belief, Defendant has infringed and continues to
 8

 9   infringe one or more claims, including at least Claim 1, of the ‘101 Patent by making,

10   using, importing, selling, and/or offering for sale an event ticket management system
11
     covered by one or more claims of the ‘101 Patent. Defendant has infringed and
12

13   continues to infringe the ‘101 Patent directly in violation of 35 U.S.C. § 271.
14         21.    Defendant sells, offers to sell, and/or uses an inventory system including,
15
     without limitation, the VBO Tickets ticket management system, the VBO Mobile app,
16

17   any associated hardware and software, and any similar products (collectively,
18
     “Product”), which infringe at least Claim 1 of the ‘101 Patent.
19
           22.    The Product provides an application for scanning barcodes to obtain a
20

21   decoded link, which contains information about an article of commerce. Among other
22
     things, the Product provides an event ticket management solution in which a ticket
23
     can be scanned (e.g., by way of a QR code present on the ticket) to obtain a decoded
24

25   link, which contains information about an article of commerce (e.g., to display
26
     information related to a ticket when the code is scanned). Certain aspects of this
27
     element are illustrated in the screenshots below and/or those provided in connection
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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     with other allegations herein.

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           23.   The Product includes a mobile device comprising a portable handheld
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     housing and a communication interface configured to enable the mobile device to
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23   communicate with a communication network. For example, the Product incorporates
24
     a handheld device (e.g., mobile device with Product software) and a communication
25
     interface (i.e., cloud-based communication interface and/or Internet) configured to
26

27   enable the handheld device to communicate with a communication network. Certain
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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     aspects of this element are illustrated in the screenshots below and/or those provided

 2   in connection with other allegations herein.
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
           24.    The Product uses a signal processing device and a visual input device,

 2   the visual input device affixed within the portable handheld housing. For example, a
 3
     visual input device (e.g., camera for scanning barcode) and signal processing device
 4

 5   (i.e., processor of handheld device) are affixed within the portable handheld housing

 6   (e.g., the housing of the mobile device). The mobile device camera is used to scan a
 7
     code and, via the Product’s server, obtain details related to a particular product (e.g.,
 8

 9   details about the ticket and event associated with the ticket). Certain aspects of this

10   element are illustrated in the screenshots below and/or those provided in connection
11
     with other allegations herein.
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26         25.    The Product comprises digital files associated with the mobile device.
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     For example, the Product application has digital files (e.g., code image files, logos,
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
     and digital product information) associated with the mobile device. Certain aspects of

 2   this element are illustrated in the screenshots below and/or those provided in
 3
     connection with other allegations herein.
 4

 5         26.    The Product also includes a server in communication with the

 6   communication network, the server comprising a server database configured to store
 7
     a look-up table that includes at least a plurality of bar codes associated with a plurality
 8

 9   of articles of commerce. For example, the Product app communicates with a server

10   through the communication network. The server has a look-up table (i.e., remote
11
     database storing ticket details, such as guestlists associating guest details with a
12

13   particular event). Also, the server database contains codes, each having associated
14   information about a particular article of commerce. Certain aspects of this element
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     are illustrated in the screenshots below and/or those provided in connection with other
16

17   allegations herein.
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
           27.    The look-up table also stores a plurality of information link indicators,

 2   each information link indicator associated with a respective bar code and article of
 3
     commerce. For example, the look-up table (i.e., remote database accessed by the
 4

 5   Product app/software) also stores a plurality of information link indicators (e.g., link

 6   indicating scanned product and/or validation of scanned code details associated with
 7
     the product, such as details associated with the ticket and/or the event associated with
 8

 9   the ticket) indicating information associated with a respective code. Certain aspects

10   of this element are illustrated in the screenshots below and/or those provided in
11
     connection with other allegations herein.
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17         28.    Each information link indicator is configured as a status signal indicating
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     the existence or absence of a link to information pertaining to a respective article of
19
     commerce, the link being made to the information via the communication network.
20

21   For example, each information link which is obtained by scanning a code indicates a
22
     status signal indicating the existence or absence of a link to information about a
23
     respective article of commerce (e.g., link indicating validation of scanned QR code
24

25   ticket and details associated with ticket). The information associated with the link is
26
     retrieved through the communication network. Certain aspects of this element are
27
     illustrated in the screenshots below and/or those provided in connection with other
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
     allegations herein.

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               PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
           29.   The visual input device is configured to scan an image of an article of

 2   commerce, decode the image to obtain a code and forward data from the scanned
 3
     image to the signal processing device. For example, the visual input device (i.e.,
 4

 5   handheld device camera) is configured to scan an image of a code associated with an

 6   article of commerce. After scanning the code, the code is decoded using Product
 7
     software, which may be located on the mobile device, to retrieve information about
 8

 9   the product. The information is forwarded to the signal processing device (i.e.,

10   processor of mobile device). Certain aspects of this element are illustrated in the
11
     screenshots below and/or those provided in connection with other allegations herein.
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25         30.   In response to receiving the bar code, the signal processing device (i.e.,
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     mobile device) is configured to look up the code in the look-up table (i.e., Product
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28
     database) to determine from a respective information link (e.g., link to ticket/event
                                              17
                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
     information) whether or not information pertaining to an article of commerce

 2   associated with the code (information about the associated ticket/event) may be
 3
     accessed via the communication network.         Certain aspects of this element are
 4

 5   illustrated in the screenshots below and/or those provided in connection with other

 6   allegations herein.
 7
           31.    Defendant’s actions complained of herein will continue unless
 8

 9   Defendant is enjoined by this court.

10         32.    Defendant’s actions complained of herein are causing irreparable harm
11
     and monetary damage to Plaintiff and will continue to do so unless and until
12

13   Defendant is enjoined and restrained by this Court.
14         33.    Plaintiff is in compliance with 35 U.S.C. § 287.
15
                                   PRAYER FOR RELIEF
16

17         WHEREFORE, Plaintiff asks the Court to:
18
           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
19
     asserted herein;
20

21         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
22
     employees, attorneys, and all persons in active concert or participation with Defendant
23
     who receive notice of the order from further infringement of United States Patent No.
24

25   10,600,101 (or, in the alternative, awarding Plaintiff a running royalty from the time of
26
     judgment going forward);
27

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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
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 1
           (c)    Award Plaintiff damages resulting from Defendant’s infringement in

 2   accordance with 35 U.S.C. § 284;
 3
           (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 4

 5         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff

 6   entitled under law or equity.
 7

 8
     Dated: January 3, 2021                Respectfully submitted,
 9

10                                         /s/ Stephen M. Lobbin
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15                                         Attorney(s) for Plaintiff Scanning
16                                         Technologies Innovations, LLC
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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VBO TICKETS, INC.
